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                            W LAKE CHARLES,LA,

June 9,2020                    JUN I 1 '2020
                            TONY R.^ [Op^, CLERK
                            BY ,^~
                                  '^3F
                                         TS3g^Tf7'"w-
Steven J. Andrews
1511 Pinehurst Street
Sulphur/ Louisiana 70665-7633


Moss Memorial Health Clinic
Attn: Keysha Nabours/ NP
1000 Walter Street
Lake Charles, LA 70607


On May 29, 20201 requested the Walmart Pharmacy to request the
refill of my Clonidine prescription. On June I/ 2020, Walmart informed
me that "a" physician at Moss Memorial refused the refill my
prescription on the grounds that I had not been seen for over six
months.


Walmart had shredded the note from Moss Memorial but the physician
/caKe giver had to be Muhammad Shaikh or you, Keysha Nabours.


On Wednesday, October 16,2019, after an incident, I requested of Ms.
Terrera Davis, Secretary to Bernita Loyd Brown, to make a blood
draw/appointment for me in three months with you, Keysha Nabours.
Ms. Davis agreed to do so.


I made note of Ms. Davis' agreement in my letter to Administrator
Bernita Loyd Brown, dated October 30, 2019, Certified Mail #7015 0640
0004 86913019, copy of page two attached.


1 Steven J. Andrews/1511 Pinehurst Street/ Sulphur, Louisiana 70665-7633
       Certified Mail #7019 2280 0002 1438 2737
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Ms. Davis failed to honor her agreement to make a blood
draw/appointment for me with you/ Keysha Nabours.


In my letter to Charles P. Whitson CFO/ dated February 22, 2020,
Certified Mail #7015 0640 0004 86913040, copy of page 2 & 3
attached/1 requested of Mr. Whitson to "Jogw Ms. Davis' memory to
honor her agreement to make a blood draw/appointment with you,
Keysha Nabours.


Again/ Ms. Davis failed to honor her agreement.


And now, since the beginning of the year, there is the Wuhan virus
outbreak and you will not fill my prescription for Ctonidine because you
haven't seen me in six months. Believe me. I look, more or less/ the
same.


Oh, and for ass-holes that are sensitive; when I say "Wuhan" virus/ it
can be interpreted as Covid-19.


Keysha, I hate to treat you like a fool... sad ... you are what you are/ but
i had a stroke in 2013 and ever since I have been on the medicines as
follows: Lisinopril-HCTZ 20-12.5 M, Clonidine HCLO-3 oz/ Clopidogrel 75
MG/ Amlodipine Besylate 10 MG, Atorvastatin Calcium and low dose
Aspirin 81 mg.


If there is a law that precludes you from filling life-saving prescriptions
because you haven't seen a patient within six months; then state that
law.




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Otherwise, get off your ass and refill all of my prescriptions along with
the Clonictine.


Fve had a blood draw at Moss Memorial within the past six months if
that is a concern


If you need to speak with a physician that I have had an appointment
with within the past six months/ contact: Teran Reynolds NP,
appointment January 15,2020 on Wednesday @ 9:00 am for ECHO & a
blood draw for Dr Leung, Dr. Leung/ appointment January 20, 2020 on
Monday @10:30 am. Dr. Edward C. Bergen, appointment January 27,
2020 on Monday @ 7:00 am/ Dr. Courville, appointment March 4, 2020
on Wednesday @ 9:00 am @ West-Cal Diagnostic for a Cat-Scan and
last but not least, I had a foltow-up appointment with Dr, CourvHle,
appointment March 10, 2020 on Tuesday @ 10:45.


I offer a service that sorts out these types of difficulties. The cost for my
service is $625.00 per hour/ with an eight-hour minimum.

    f
If you have not authorized new 90-day prescriptions with 2 refills/
concerning all the above stated drugs, within seven working days of you
having received this Certified Mail #7019 2280 0002 1438 2737 you will
have entered into a contractual obligation with me to sort out this
difficulty.


Keysha, you informed me that Muhammad Shaikh sent me for a blood
draw that did not check the function of my kidneys. Therefore/ the
most generous comment that I can make Is that Muhammad Shaikh
lacks proficiency.
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One last note: From my observation, Muhammad Shaikh has tost
control of "his" clinic and from what you, Keysha Nabours/ have said to
me during my past visits; I think that you/ Ms. Nabours, will agree with
my assessment.




Steven/f. Andrews




ec:

Mo§s Memorial Health Clinic, Attn: Or Muhammad A. Shaikh/1000
Walter Street/ Lake Charles, Louisiana 70607

Lake Charles Memorial Hospital, Attn: Dr. Manley Jordan, MA & CMO,
1701 Oak Park Blvd., Lake Charles, Louisiana 70601, Certified Mail
#7015-0640-0004-8691-6737

Heart & Vascular Center, Attn Dr. Bergen/ 1717,0ak Park Blvd., Second
Floor/ Lake Charles, Louisiana 70601

Lake Charles Memorial Hospital, Charles P. Whitson CFO, 1701 Oak Park
Blvd. Lake Charles/ Louisiana 70601

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Lake Charles Memorial Hospital, Larry Graham, CEO & President/1701
Oak Park Blvd. Lake Charles/ Louisiana 70601

Laurence Best/ Attorney/ 2030 St. Charles Ave/ Ste A/ New Orleans, LA
70130
Moss Memorial Clinic Attn: Bernita Loyd Brown/ Moss Memorial Health
Clinic Administrator, 1000 Walter Street, Lake Charles/ Louisiana 70607

Walmart Pharmacy/ Attn: Karla Lyons/ Pharmacy Manager, 525 N. Cities
Service Hwy/ Sulphur/ LA 70663

United States District Court/ Western District of Louisiana/ Lake
Charles Division, 611 Broad Street/ Suite 188, Lake Charles, LA 70601
Steven J. Andrews/1511 Pinehurst Street, Sulphur, LA 70665




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to say about the phlebotomists; its that there seems to be an
unusual turnover.

Ms. Brown^ I don't want special treatment. I just want to be
treated as a patient by your administrathre people when I enter
Moss Memorial Health Clinic to receive medical services.

The excellent service provided by your lab personnel is
accentuated by the abusive disposition of the two women
employed at On Shaikh's/Keysha Nabours' Clinic.

Now, to get down to the meat and potatoes: Ms. Brown, on
Wednesday, October 16^ 201& I spoke w'rth your secretary, Ms.
Terrea Davis concerning an incident that occurred in Dr.
Shaihk's/Keysha Nabours^ clinic. I gave Ms. Davisthe details of
this occurrence and she took notes.

I requested that Ms. Davis report/file a formal complaint on my
behalf.

) require to be informed of the actions taken by Moss Memorial
Clinic concerning my complaint.

I requested to be scheduled for a blood draw/appointment
with Keysha Nabours in approximately three months ^nd Ms<
Davis told me that she would take care of my request

i suggest that Ms- Davis contact Ms. Naboyrs to make sure the
blood draw test report is appropriate.

The two individuals, I would prefer to refer to these women by
name/ but I will make do, involved in my complaint are the

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blood pressure^ controlled by medication, kidneys functioning at 35%,
aorticstenosis and shortness of breath due to COPD//


I pray that my letters are being interdicfced by a person or persons who
have failed to notice my sunny disposition and gracious charm. I would
hate to think that Keysha Nabours is delinquent in her duties. I like
Keysha.


However, if Keysha has received my letters and ignored my request;
Ms* Keysha Nabours should be fired.


I offer a service to expose Incompetence in the bureaucratic structure
of the health care industry and to obtain documents, particularly a
document that I am required to provide to the Unrted States District
Court Western District of Louisiana.

Lake Charles Memorial Health System is put on notice that my service
to expose incompetence and obtain required documents is $625-00 per
hoyr with an eight-hour minimum.
  ^
If I have not received the required, "to whom it may concern" letter
within 14 days, March 9, 2020, Lake Charles Memorial Health System
shall have triggered acceptance of my often

Viola, a contract has been consummated.

Oh, by the way, Ms. Terrea Davis has not yet fulfilled my request to -
schedule an appointment with Keysha Nabours gfter my complaint; as
described in my letter, dated October 30^ 2019.



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Mr. Whltson, I would appreciate your help in the matter of jogging Ms.
Dav?s' memory.

I am suspicious of Dr. Shaikh; he may have something to do with this
situation,


My concern is that Dr. Shaikh, the woman receptionist or the woman
that schedules appointments may be tampering with the U.S. mail.

As you might imagine, my opinion is that Dr, Shalkh has lost control of
his clinic*

Mr. Whitson, should you help me with an appointment; please not
make the appointment with Dr. Shaikh- The last tirne t saw Dr. Shaikh;
according to Keysha Nabours NP, he sent me for a blood draw without
checking my kidneys^ With my kidneys functioning at 35% Or Shaikh
did not see fit to include my kidneys in the blood draw.

Mr. Whltson, you tell me what I should call Dr. Shaikh's judgment Trust
me/1 got a pretty good word,

A^byr United State Senator, John Kennedy, said: "there is nothing to be
learned from the second kick of a mule/'

My understanding is that Ms. Terrea Davisi went on her honeymoon
recently, and in some cases that can be a traumatic experience.
Nevertheless^ < need the help of a self-assured person such as yourself.

I have posted this letter via certified mail, but there is nothing certain
concerning certified mail.

Two of my certified letters posted to Ms. Bernita Brown, MMHC
Administrator are lost in limbo.

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          Return Address
       1511 Pinehurst Street
   Sulphur, Louisiana 70665-7633



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                                                    United States District Court
                                                    Western District of Louisiana
                                                    Lake Charles Division
                                                    611 Broad Street
                                                    Suite 188
                                                    Lake Charles, LA 70601



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